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                                                                       Friday, June 20, 2025


The Honorable Brian Mast
Chairman
Committee on Foreign Affairs
United States House of Representatives

SUBJECT: Congressional Notification Regarding Reprogramming of Grantee Funding

Dear Chairman Mast:

On behalf of the United States Agency for Global Media’s (“USAGM” or “the Agency”), we are
providing this Congressional Notification (CN), pursuant to the regular notification procedures
of the Committees on Appropriations, and, to the extent relevant, the Committees on Foreign
Relations of the Senate and Foreign Affairs of the House of Representatives. This CN is
submitted pursuant to various applicable provisions of law in the relevant appropriation and
authorization acts, including, as may be relevant: sections 7009, 7015, and 7063 and the
International Broadcasting (IBO) heading in the FY 2024 Further Consolidated Appropriations
Act (“the Act”), Public Law 118-47; and Title XII of the Fiscal Year (FY) 2025 Full-Year
Continuing Appropriations and Extensions Act, 2025, Division A of P.L. 119-4.

Reprogramming of Grantee Funding

Pursuant to Section 7015 of the Further Consolidated Appropriations Act, 2024, Pub. L.118-47
(the Act), carried forward in the Fiscal Year (FY) 2025 Full-Year Continuing Appropriations and
Extensions Act, 2025, Division A of P.L. 119-4, and consistent with the five percent limit under
the International Broadcasting Operations (IBO) heading under that Act, this serves as a formal
notification to Congress of the Agency’s intent to transfer $17,327,000 from the Open
Technology Fund (OTF), the Middle East Broadcasting Networks (MBN), Radio Free Asia
(RFA), and Radio Free Europe/Radio Liberty’s (RFE/RL) FY 2025 allocation of $346,542,000.
Funding will be transferred to Mission Support.

Please note that these revisions are all captured in Table 1, consistent with requirements under
section 7062(a) on FY 2025’s program plan.
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Please do not hesitate to reach out to USAGM if you would like a briefing on, or have any other
questions regarding, this CN.




cc:    The Honorable Gregory Meeks
       Ranking Member
       Committee on Foreign Affairs
       United States House of Representatives




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    1. Program Plan for FY 2025

                                         U.S. Agency for Global Media
                                            FY 2025 Program Plan
                                                     ($ in thousands)
 International Broadcasting Bureau                                            FY 2025         +/-         FY 2025
(Programs, Projects, and Activities)                                          Enacted     Adjustments   Program Plan
                            Federal Entities
Voice of America                                                          $     260,032 $        (20) $       260,012
Office of Cuba Broadcasting                                               $      25,000               $        25,000
Mission Support                                                           $     225,640 $     17,433 $        243,073

                                               Subtotal, Federal Entities $     510,672 $     17,413 $        528,085

                          Non-Federal Entities
Radio Free Europe/Radio Liberty                                        $        142,212   $    (7,196) $      135,016
Radio Free Asia                                                        $         60,830   $    (3,042) $       57,788
Middle East Broadcasting Networks                                      $        100,000   $    (5,000) $       95,000
Open Technology Fund                                                   $         43,500   $    (2,175) $       41,325
                                        Subtotal, Non-Federal Entities $        346,542   $   (17,413) $      329,129
            Subtotal, International Broadcasting Operations               $     857,214 $           - $       857,214

Broadcasting Capital Improvements                                         $       9,700                 $       9,700

                                                 USAGM Total Baseline $         866,914 $           - $       866,914




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